Case 2:16-cv-01444-JRG-RSP Document 27 Filed 05/09/17 Page 1 of 2 PageID #: 84




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §                   Case No: 2:16-cv-1444-JRG-RSP
                                    §
      vs.                           §                   LEAD & CONSOLIDATED CASE
                                    §
GOPRO, INC.                         §
                                    §
      Defendant.                    §
___________________________________ §

      UNOPPOSED MOTION TO DISMISS GOPRO, INC. WITHOUT PREJUDICE

       Plaintiff Rothschild Connected Devices Innovations LLC hereby moves to dismiss this

civil action without prejudice pursuant to Fed. R. Civ. P. 41 (a)(1)(a)(ii). Plaintiff intends to file

a motion to amend the dismissal order to be “with prejudice” upon compliance with the terms of

the settlement agreement.

       Wherefore, Plaintiff requests that the Court dismiss Plaintiff’s claims against Defendant

GoPro, Inc. without prejudice with each party to bear its own fees and costs.
Case 2:16-cv-01444-JRG-RSP Document 27 Filed 05/09/17 Page 2 of 2 PageID #: 85




  Dated: May 9, 2017                         Respectfully submitted,

                                             /s/ Jay Johnson
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                                             ATTORNEYS FOR PLAINTIFF


                             CERTIFICATE OF CONFERENCE

  The undersigned certifies that on May 9, 2017 he met and conferred with counsel for Defendant
  concerning this motion and that Defendant’s counsel agreed to the motion.

                                             /s/ Jay Johnson
                                             Jay Johnson


                                CERTIFICATE OF SERVICE

  This is to certify that a true and correct copy of this document has been served on all counsel
  of record via electronic mail through Local Rule CV-5(a) on May 9, 2017.

                                                     /s/ Jay Johnson
                                                      Jay Johnson
